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                     UNITED STATES DISTRICT OF COURT
                       EASTERN DISTRICT OF LOUISIANA
__________________________________
IN RE: OIL SPILL BY THE OIL          §               MDL No. 2179
RIG “DEEPWATER HORIZON”              §
IN THE GULF OF MEXICO,               §               SECTION: J
ON APRIL 20, 2010                    §
                                     §               JUDGE BARBIER
This Pleading applies to:            §
All Cases in Pleading Bundle B1      §          MAG. JUDGE SHUSHAN
_________________________________    §


           MEMORANDUM IN SUPPORT OF HALLIBURTON ENERGY
             SERVICES, INC.'S MOTION TO DISMISS PLAINTIFFS'
               MASTER COMPLAINT FOR ECONOMIC LOSSES

         Defendant Halliburton Energy Services, Inc. ("HESI")1 respectfully files this

memorandum in support of its motion asking the Court to dismiss all claims asserted

against HESI in Plaintiffs' Master Complaint for Private Economic Losses (the "Master

Complaint") pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).2

                    I.       INTRODUCTION AND PROCEDURAL HISTORY

         This case arises out of the fire, explosion, and sinking of the Deepwater Horizon,

and a subsequent release of oil into the Gulf of Mexico (hereinafter, the "Incident").

(Master Complaint at pp. 39-40). Numerous individual and class action lawsuits were

filed in state and federal courts, many of which allege predominantly economic damages.


1
 The Master Complaint identifies Halliburton Energy Services, Inc. ("HESI") as a defendant. It is unclear
whether the Master Complaint asserts that Halliburton's division, Sperry Drilling Services ("Sperry"), is a
separate defendant. Nevertheless, to the extent Plaintiffs assert claims against Sperry in the Master
Complaint, Halliburton expressly adopts the arguments set forth herein as being applicable to Sperry in
addition to HESI.
2
  HESI expressly reserves its right to assert "any other defense that may be specific or unique to any
particular plaintiff" pursuant to Pre-Trial Order No. 25, ¶ 15, including the right to challenge the adequacy
of each underlying complaint under the principles set forth in Bell Atl. Corp. v. Twombly, 550 U.S. 544,
570, (2007), and Ashcroft v. Iqbal, 556 U.S. __, 129 S. Ct. 1937, 1949 (2009).
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        On October 19, 2010, this Court entered its Case Management Order No. 1

("CMO 1"), in which it directed the filing of master complaints for, inter alia, claims

involving allegations of economic losses and property damage by private party plaintiffs

("Plaintiffs"). (CMO 1 at ¶ III.B.B1). On December 15, 2010, Plaintiffs filed their

Master Complaint, asserting against HESI claims under maritime law and state common

law. (Master Complaint ¶¶ 501-560, 613-653, and 668-690). Plaintiffs identified the

Master Complaint as an admiralty or maritime case as provided in Federal Rule of Civil

Procedure 9(h)(1). (Master Complaint at p. 39). In the Master Complaint, Plaintiffs

generally assert against HESI and others maritime law claims for negligence and for

gross negligence and willful misconduct and state law claims for nuisance, trespass and

fraudulent concealment. Plaintiffs also assert other claims against additional defendants,

including claims for relief under the Oil Pollution Act of 1990, 33 U.S.C. § 2701, et seq.,

against Defendants BP, Transocean, Anadarko, Anadarko E&P, and MOEX and for

punitive damages pursuant to all their claims.

        Generally, Plaintiffs allege in the Master Complaint that the acts of various

defendants, including HESI, caused the fire and explosion on board the Deepwater

Horizon, its sinking, a subsequent oil spill, and Plaintiffs' alleged damages. (Master

Complaint ¶¶ 174-180). The purported Plaintiff class is defined as

        "[a]ll individuals and entities residing or owning property in the United
        States who claim economic losses, or damages to their occupations,
        businesses, and/or property as a result of the April 20, 2010 explosions
        and fire aboard, and sinking of, the Deepwater Horizon, and the resulting
        Spill.

(Id. ¶ 476).




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                 II.      STATEMENT OF FACTS

        Defendant BP was the holder of a lease granted by the Minerals Management

Service ("MMS") authorizing the exploration, development and production of oil in

Mississippi Canyon Block 252 in the Gulf of Mexico. (Master Complaint ¶ 186). BP

conducted activities at this site on the Deepwater Horizon, a "dynamically-positioned

semi-submersible deepwater drilling vessel" built for and owned by Defendant

Transocean and leased to Defendant BP for the purpose of drilling exploratory wells. (Id.

¶¶ 248-249). Plaintiffs allege that HESI was responsible for the provision of technical

advice about the design, modeling, placement, and testing of the cement that was used in

the Macondo well. (Id. ¶ 202).3

        On April 20, 2010, there was an explosion on board the Deepwater Horizon

during well completion efforts. (Id. ¶¶ 174, 265). Subsequently, the Deepwater Horizon

sank into the Gulf of Mexico and oil was released. (Id. ¶¶ 174-176). Plaintiffs allege

that "[f]ishermen and marine-related businesses have lost and continue to lose income

and their businesses; the tourism industry and hotels, resorts, restaurants, and other

tourism-reliant businesses have lost and continue to lose income; and real property

owners have suffered the loss, damage, and/or diminution of the value of their properties

throughout the Coastal Zone." (Id. ¶ 180).

                                 III.     SUMMARY OF ARGUMENT

        The Oil Pollution Act of 1990, 33 U.S.C. §§ 2701, et seq. (the "OPA"), provides

the exclusive federal remedy for the categories of oil spill-related damages that Plaintiffs

3
 Plaintiffs also allege that Sperry was responsible for providing mudlogging personnel on the rig and those
personnel were partially responsible for monitoring the well. (Master Complaint ¶ 203).




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allege. As the exclusive federal remedial scheme for such damages, the OPA specifically

preempts or displaces4 maritime tort claims seeking damages caused by oil spills.

Plaintiffs assert against HESI maritime law claims and specifically invoke Federal Rule

of Civil Procedure 9(h)(1) to designate the Master Complaint as "an admiralty or

maritime case." (Master Complaint ¶¶ 219-220). Plaintiffs further bring against HESI

state law claims sounding in nuisance, trespass and fraudulent concealment (the "State

Law Claims"), attempting to circumvent the OPA's exclusive remedial scheme and its

preemptive effect on maritime tort claims. However, Plaintiffs lack state law causes of

action against HESI. All of Plaintiffs' claims arise, if at all, under maritime law and are,

therefore, preempted or displaced by the OPA.

         Because the OPA applies to all of Plaintiffs' claims against HESI, this Court lacks

subject matter jurisdiction over such claims due to Plaintiffs' failure to plead and/or

comply with the statute's mandatory claims presentment procedure. This failure provides

both an independent and additional basis requiring dismissal of Plaintiffs' claims.




4
  The doctrine of "preemption" generally pertains to the effect of federal law on state law, where there are
concerns associated with federalism and balancing states' rights. However, the discussion herein regarding
the OPA's effect on federal common law (i.e., maritime law) pertains the the effect of a federal statute on a
body of federal law, not state law. In such instances, the federal statute more accurately "displaces" the
federal common law, and there are no corresponding federalism issues. Nevertheless, in discussing the
OPA's effect on federal maritime law, certain courts have referred to this issue as one of “preemption,” and
other courts seem to use "preemption" and "displacement" interchangeably. See, e.g., Gabarick v. Laurin
Mar. (Am.) Inc., 623 F. Supp. 2d 741, 750-51 (E.D. La. 2009) (holding that "all [general maritime law]
claims that are recoverable under OPA, specifically those covered damages enumerated in 33 U.S.C. §
2702, are preempted by OPA"). To avoid confusion with supporting case law, HESI's discussion of the
OPA asserts that the statute "preempts or displaces" federal maritime law.




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         Importantly,the OPA only allows for claims to be asserted against a "responsible

party," as that term is defined by the OPA.5 The Coast Guard has designated BP and

certain other defendants, not including HESI, as "responsible parties" under the OPA.6

Because HESI is not a designated "responsible party" under the OPA, Plaintiffs' claims

must be dismissed.

         Even if one were to assume Plaintiffs' claims are somehow properly asserted

against HESI, such claims require dismissal under Rule 12(b)(6) to the extent they seek

economic damages without alleging physical injury to a proprietary interest. These

claims are barred by the "economic loss" rule established under federal maritime and/or




5
  33 U.S.C. §§ 2701(32) (defining "responsible party" of "vessels" and "offshore facilities") and 2702
(describing the liability of "responsible parties"). For limitation of liability purposes, under the OPA, a
MODU such as the Deepwater Horizon may be treated as a "vessel" or an "offshore facility" depending on
the nature of an oil spill and/or the extent of damages caused by a spill. See 33 U.S.C. § 2704(b). To the
extent the Deepwater Horizon is treated as a "vessel," the OPA defines a "responsible party" as "any person
owning, operating, or demise chartering the vessel." Id. § 2701(32)(A). To the extent the Deepwater
Horizon is treated as an "offshore facility," the OPA defines a "responsible party," in relevant part, as "the
lessee or permittee of the area in which the facility is located[.]" Id. § 2701(32)(C). Regardless of the
limitation of liability treatment afforded the Deepwater Horizon under the Act, HESI was a third-party
contractor on the vessel and, therefore, satisfies neither definition of a "responsible party."
6
  In the days following the Deepwater Horizon incident, the Coast Guard designated BP as a responsible
party under the OPA. See http://www.uscg.mil/foia/docs/DWH/2094.pdf (including the Coast Guard's
correspondence to BP, designating it as a responsible party under the OPA and BP's acknowledgment of
that designation); see also http://www.uscg.mil/foia/docs/DWH/2886.pdf (including the Coast Guard's
designation of Transocean Holding, LLC, as a responsible party); OIL SPILL COST AND REIMBURSEMENT
FACT SHEET, http://www.restorethegulf.gov/release/2011/01/11/oil-spill-cost-and-reimbursement-fact-sheet
(noting that Anadarko and MOEX have also been designated as responsible parties). Copies of these
documents are attached as Exhibit A. See also Lum v. Bank of Am., 361 F.3d 217, 222 n.3 (3d Cir. 2004)
(internal citations omitted) (noting that in deciding a motion to dismiss, courts may consider matters of
public record).
         Moreover, courts may consider facts not specifically alleged in the Complaint when considering a
12(b)(6) motion. See Universal Express, Inc. v. SEC, 177 F. App'x 52, 53-54 (11th Cir. 2006); Brown v. S.
Fla. Fishing Extreme, Inc., No. 08-CV-20678, 2008 U.S. Dist. Lexis 49452, at * 3-4 (S.D. Fla. June 27,
2008); Levy v. Ohl, 477 F.3d 988, 991 (8th Cir. 2007) ("materials that are part of a public record or do not
contradict the complaint may be considered by a court in deciding a Rule 12(B)(6) motion").




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state law. Plaintiffs' request for punitive damages must also be dismissed as punitive

damages are not recoverable under the OPA.

       Therefore, HESI respectfully moves the Court to dismiss all claims asserted

against it pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).

                      IV.     ARGUMENT AND AUTHORITY

A.     This Court Lacks Subject Matter Jurisdiction.

       1.      Applicable Law

       Federal Rule of Civil Procedure 12(b)(1) provides for the dismissal of an action

where the court lacks subject matter jurisdiction. A motion to dismiss filed pursuant to

Rule 12(b)(1) allows a party to challenge the subject matter jurisdiction of the district

court to hear a case. Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001); see

also McElmurray v. Consol. Gov't. of Augusta Richmond County, 501 F.3d 1244, 1251

(11th Cir. 2007). A court may decide such a motion on one of three bases: (1) the

complaint alone; (2) the complaint and the undisputed facts in the record; or (3) the

complaint, the undisputed facts in the record, and the court's own resolution of disputed

facts. McElmurray, 501 F.3d at 1251; Ynclan v. Dep't of the Air Force, 943 F.2d 1388,

1390 (5th Cir. 1991) (citing Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir. 1981)). In

a Rule 12(b)(1) motion, the burden of proving that jurisdiction exists falls to the party

asserting jurisdiction. Ramming, 281 F.3d at 161; Eaton v. Dorchester Dev., Inc., 692

F.2d 727, 732 n.9 (11th Cir. 1982).

       2.      Plaintiffs' Claims, If Any, Arise Exclusively Under the Court's
               Admiralty Jurisdiction.




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         A threshold question in this litigation is the issue of whether Plaintiffs' claims are

cognizable only in the admiralty or maritime jurisdiction.                       Fed.R.Civ.P. 9(h)(1).

Plaintiffs' claims cannot arise under both state law and admiralty law, as admiralty

jurisdiction normally ousts state law from its own application. See E. River S.S. Corp. v.

Transamerica Delaval, 476 U.S. 858, 864 (1986) ("With admiralty jurisdiction comes the

application of substantive admiralty law"). Plaintiffs expressly designated the Master

Complaint "as an admiralty or maritime case as provided in Rule 9(h)(1) of the Federal

Rules of Civil Procedure." (Master Complaint at p. 39). Further, Plaintiffs cite, as a

jurisdictional basis for their claims, the Admiralty Extension Act, 46 U.S.C. § 30101,

which extends federal admiralty jurisdiction to cases involving damages caused by a

vessel on navigable waters, "even though the injury or damage is done or consummated

on land." (Master Complaint ¶ 223) (quoting 46 U.S.C. § 30101(a)). Nevertheless, the

Master Complaint also asserts State Law Claims against HESI, without invoking an

exception to the general rule that "with admiralty jurisdiction comes the application of

substantive admiralty law" and thus provides no rationale for the application of state law

to any of Plaintiffs' claims.

         Moreover, many of the underlying individual and class action complaints assert,

predominantly or exclusively, state law claims arising out of the Incident.7 Given the

Plaintiffs' view that the Master Complaint is merely "an administrative device to serve

the functions of efficiency and economy" and that it does "not constitute a waiver or
7
  See Appendix 1, which lists the underlying cases in which Plaintiffs assert pure state law claims; Appendix
2, which contains a list of cases in which Plaintiffs assert state law claims under the laws of a State other
than Louisiana by operation of the Outer Continental Shelf Lands Act's adjacent state law provision, 43
U.S.C. § 1333(a)(2)(A). As set forth herein, state law does not apply to any such claims, whether of its
own force or pursuant to OCSLA's adjacent state law provision.




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dismissal of any actions or claims asserted in the individual and class actions," (Master

Complaint ¶¶ 181-182), the issue whether admiralty jurisdiction, and thus substantive

maritime law, applies to this case must be addressed. That many of the underlying

Plaintiffs did not allege admiralty jurisdiction does not mean that maritime law is

inapplicable to their claims. Fed.R.Civ.P. 9(h)(1) ("A claim cognizable only in the

admiralty or maritime jurisdiction is an admiralty or maritime claim for those purposes,

whether or not so designated.")

       Indeed, based on the nature of the Incident, all claims in the Master Complaint

and the underlying complaints guised as state law claims are governed by maritime law.

The Supreme Court's decision in Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock

Co. provides the Court with the proper analytical framework to determine the

applicability of admiralty jurisdiction and, therefore, substantive maritime law. See 513

U.S. 527 (1995). As shown below, applying Grubart, Plaintiffs' claims clearly arise

under admiralty jurisdiction, not state law.

       In Grubart, the Supreme Court reiterated the current test for admiralty tort

jurisdiction, stating that "a party seeking to invoke federal admiralty jurisdiction . . . over

a tort claim must satisfy conditions of both [i] location and [ii] connection with maritime

activity." Id. at 534. To satisfy the location test, the Court must determine only "whether

the tort occurred on navigable water or whether injury suffered on land was caused by a




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vessel on navigable water." Id. The Deepwater Horizon qualifies as a "vessel" on

navigable water.8

         The Supreme Court in Grubart explained that the "connection with maritime

activity" test raises two "Sisson inquiries."9 Under the first Sisson inquiry, the Court



8
  1 U.S.C. § 3 (defines "vessel" as "every description of watercraft or other artificial contrivance used, or
capable of being used, as a means of transportation on water"); see also Stewart v. Dutra, 543 U.S. 481,
490 (2005) (standardizing the meaning of the word "vessel" as that supplied in 1 U.S.C. § 3 and noting that
"[s]ection 3 merely codified the meaning that the term 'vessel' had acquired in general maritime law").
Plaintiffs' description of the Deepwater Horizon indicates that it was a vessel (See Complaint ¶ 248)
(acknowledging that the Deepwater Horizon was "a dynamically-positioned, semisubmersible deepwater
drilling vessel") and that it was located on navigable waters at the time of the Incident (See Plaintiffs'
Master Answer to Complaint and Petition of Triton Asset Leasing GmbH, et al., For Exoneration From or
Limitation of Liability, at ¶ 28, in case No. 10-2771 before this Court) ("[T]he Deepwater Horizon was a
movable drilling rig and a vessel in navigation upon the navigable waters of the United States"). Further,
courts have consistently held that mobile, semi-submersible rigs, like the Deepwater Horizon, are vessels.
See, e.g., Manuel v. P.A.W. Drilling & Well Serv., Inc., 135 F.3d 344, 351-52 (5th Cir. 1998) (holding that
drilling craft was a vessel because it was a "highly mobile unit"); Domingue v. Ocean Drilling and
Exploration Co., 923 F.2d 393, 394 n.1 (5th Cir. 1991) ("We have consistently applied general maritime
law [in Jones Act cases] . . . to accidents aboard special-purpose watercraft such as submersible, semi-
submersible, jack-up, and other similar rigs."); Fontenot v. Mesa Petroleum Co., 791 F.2d 1207, 1214 n.5
(5th Cir. 1986) (finding semi-submersible drilling rig to be "indisputably a vessel"); Colomb v. Texaco,
Inc., 736 F.2d 218, 221 (5th Cir. 1984) (finding submersible drilling barge to be a "vessel" because it was
"highly mobile" due to routine relocation); Case v. Omega Natchiq, Inc., No. H-08-0835, 2008 U.S. Dist.
LEXIS 52931, at *16, (S.D. Tex. July 10, 2008) ("In contrast to production platforms, semisubmersible
drilling rigs are generally considered vessels under the Jones Act.").
          That the Deepwater Horizon was a "vessel in navigation" is further supported by facts alleged in
the public record. For example, certain Transocean employees and/or representatives of deceased persons
who were aboard the Deepwater Horizon on April 20, 2010, have filed Jones Act suits asserting damages
for injuries sustained in their capacity as "seamen" under the Jones Act. In doing so, these plaintiffs have
asserted admiralty jurisdiction and the application of maritime law, claiming that their injuries or damages
were sustained as members of the crew on board Deepwater Horizon, "a vessel within the meaning of the
Jones Act, 46 U.S.C. §§ 30104, et seq." See, e.g., Plaintiffs Stephen and Sara Stones' Petition in
Intervention at ¶¶ 9-10, 12, Kleppinger v. Transocean Deepwater Offshore Drilling, Inc., Case No. 4:10-
cv-01851 (S.D. Tex.).
         Additionally, Transocean, the owner of the Deepwater Horizon, and related entities have filed a
Complaint and Petition for Exoneration From or Limitation of Liability, under the Limitation of Liability
Act, 46 U.S.C. §§ 30501 et seq., seeking to have their liability capped for an amount equal to the value of
the "vessel." See Case No. 10-2771 [Doc. No. 1]. These Transocean entities have filed such Petition in
their capacities as the "owner of the vessel." See 46 U.S.C. §§ 30505(a), 30506(a)-(b); see also 46 U.S.C. §
30511(a) ("The owner of a vessel may bring a civil action in a district court of the United States for
limitation of liability under this chapter." (emphasis added)).
9
 "Sisson inquiries" refer to inquiries developed by the Supreme Court in the case of Sisson v. Ruby, 497
U.S. 358, 363 (1990), which also dealt with the issue of whether claims arose under federal admiralty




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 must "assess the general features of the type of incident involved . . . to determine

 whether the incident has a potentially disruptive impact on maritime commerce." 513

 U.S. at 534 (quotations and citations omitted). The Court in Grubart stressed that this

 inquiry focuses "not on the specific facts at hand but on whether the 'general features' of

 the incident were 'likely to disrupt commercial activity.'" Id. at 538 (citations omitted)

 (emphasis added). Applying these principles, the Grubart Court found that the general

 features of that case—namely "damage by a vessel in navigable water to an underwater

 structure"—plainly constituted "the kind of incident that has a potentially disruptive

 impact on maritime commerce." Id. (citations omitted).

            The facts alleged by Plaintiffs likewise are potentially disruptive of commercial

 maritime activity. Plaintiffs allege, among other things, that Defendants were negligent

 with respect to their operation of and activities aboard a vessel, the Deepwater Horizon,10

 and seek largely economic damages arising from alleged harm to the Gulf of Mexico,11 a

 body of water "teeming with maritime activity." Broughton Offshore Drilling, Inc. v. S.

 Cent. Mach., Inc., 911 F.2d 1050, 1052 n.1 (5th Cir. 1990). Accordingly, this Sisson

 prong of the maritime nexus inquiry is satisfied.

            Under the second Sisson inquiry, the Court must determine "whether the general

 character of the activity giving rise to the incident shows a substantial relationship to


 jurisdiction. The Supreme Court advanced the analysis further in Grubart, but retained the Sisson inquiries
 as part of the admiralty jurisdiction analysis. See Grubart, 513 U.S. at 533-34.
 10
      See, e.g., Master Complaint ¶¶ 487, 541(a)-(c), (e)-(f), 554.
 11
    See, e.g., id. ¶¶ 176, 180 (describing the impact of the oil spill on the Gulf of Mexico and on the
 economic activities dependent on the Gulf of Mexico); see also id at ¶ 476 (defining the proposed class as
 "[a]ll individuals and entities residing or owning property in the United States who claim economic losses,
 or damages to their occupations, businesses, and/or property as a result of the April 20, 2010 explosions
 and fire aboard, and sinking of, the Deepwater Horizon, and the resulting Spill").




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 traditional maritime activity." Grubart, 513 U.S. at 539. Thus, the appropriate analysis

 focuses on the general nature of the incident. For example, in Grubart, the Supreme

 Court described the general character of the relevant activity as "repair or maintenance

 work on a navigable waterway performed from a vessel." Id. at 540. The Court further

 noted that "[n]avigation of boats in navigable waters clearly falls within the substantial

 [maritime] relationship[.]" Id. Likewise, here, the general character of Incident could be

 described as oil and gas well drilling from a vessel on a navigable waterway. Clearly,

 the general character of the Incident shows a substantial relationship to general maritime

 activity.

         In determining whether admiralty jurisdiction applies, the general nature of the

 Incident controls.    On the basis of the Master Complaint, the parties aboard the

 Deepwater Horizon were engaged in traditional maritime activity—operating a vessel in

 navigable waters—and such activity is claimed to have been a proximate cause of the

 Incident. (Master Complaint ¶¶ 541(a)-(c), (e)-(f), 554). Thus, admiralty jurisdiction

 governs Plaintiffs' claims.

         Furthermore, the admiralty jurisdiction test set forth in Grubart is not affected by

 the fact that some of the Plaintiffs might be characterized as land-based claimants or by

 the allegations that some or all of their damages were incurred on land. First, Plaintiffs'

 asserted damages—predicated on allegations of harm to the Gulf of Mexico—are

 themselves intensely maritime. Second, even assuming Plaintiffs demonstrate direct

 injury to property on land or in state waters, admiralty jurisdiction over those claims

 would still apply maritime law in lieu of substantive state law by virtue of the Admiralty




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 Extension Act, 46 U.S.C. § 30101, which Plaintiffs invoked as a jurisdictional basis for

 the Master Complaint.12 See In re Exxon Valdez, 767 F. Supp. 1509, 1512 (D. Alaska

 1991) (observing that if it is established that the oil spill from the Exxon Valdez is found

 to be the proximate cause of shore-based damages, plaintiffs' claims will be subject to

 admiralty jurisdiction by operation of the Admiralty Extension Act). As the Supreme

 Court has explained, "[t]he purpose of the [Admiralty Extension Act] was to end concern

 over the sometimes confusing line between land and water, by investing admiralty with

 jurisdiction over 'all cases' where the injury was caused by a ship or other vessel on

 navigable water, even if such injury occurred on land." Grubart, 513 U.S. at 532.

         Accordingly, admiralty jurisdiction clearly attaches to any claims Plaintiffs may

 have arising out of the Incident. Such claims are fundamentally maritime in nature and,

 therefore, arise under maritime law, not state law.

         3.      The Outer Continental Shelf Lands Act Does Not Require the
                 Application of "Adjacent State Law" to Plaintiffs' Claims.

         The only other basis on which state law could theoretically apply to Plaintiffs'

 claims is the "adjacent state law" provision of OCSLA, which applies, as a proxy for

 federal law, the law of the adjacent state in certain situations on the Outer Continental

 Shelf ("OCS"). See 43 U.S.C. § 1333(a)(2)(A) (emphasis added). The "adjacent state

 law" provision of OCSLA does not apply in this case because the Deepwater Horizon

 was neither an "artificial island" nor a "fixed structure" erected on the subsoil or seabed

 of the OCS.


 12
   See supra, p. 7. The Admiralty Extension Act, which was codified at 46 U.S.C. § 740, has now been
 recodified at 46 U.S.C. § 30101.




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        As a threshold matter, if maritime law applies to Plaintiffs' claims of its own force

 (and it does, as demonstrated above), OCSLA's adjacent state law provision does not

 apply. See Tennessee Gas Pipeline v. Houston Cas. Ins. Co., 87 F.3d 150, 154 (5th Cir.

 1996) (noting that "where OCSLA and general maritime law both could apply, the case is

 to be governed by maritime law"). This conclusion is reinforced by the statutory text of

 OCSLA, which contains two relevant but significantly different statutory provisions—

 Section 1333(a)(1) and 1333(a)(2)(A).

        Section 1333(a)(1) of OCSLA contains a very broad exertion of federal control

 and authority over virtually all activities occurring on the OCS involving the exploration,

 development, production, and transportation of resources.         That exertion of federal

 control is extended to "the subsoil and seabed of the outer Continental Shelf and to all

 artificial islands, and all installations and other devices permanently or temporarily

 attached to the seabed[.]" 43 U.S.C. § 1333(a)(1) (emphasis added). The Deepwater

 Horizon, a vessel, fairly falls within the language of a "device . . . temporarily attached to

 the seabed[.]" Thus, the vessel and its operations were subject to federal control and

 authority.

        In stark contrast, § 1333(a)(2)(A) of OCSLA separately applies the "laws of each

 adjacent state" on the OCS in a much narrower set of circumstances. That provision

 provides, in relevant part, that the law of the adjacent state applies "to that portion of the

 subsoil and seabed of the outer Continental Shelf, and artificial islands and fixed

 structures erected thereon[.]" (emphasis added). Conspicuously absent is the language

 contained in § 1333(a)(1) pertaining to "all installations and other devices permanently or




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 temporarily attached to the seabed." Rather, § 1333(a)(2)(A) has a far narrower reach,

 applying adjacent state law only to "artificial islands" and "fixed structures," not to

 vessels like the Deepwater Horizon.13               As the Deepwater Horizon was neither an

 artificial island nor a fixed structure, but rather was a vessel,14 Section 1333(a)(2)(A)

 does not operate to apply "adjacent state law" in this case.15

            4.           Plaintiffs' Alleged Damages Demonstrate that the OPA Is Their
                         Exclusive Remedy.

            Because all of Plaintiffs' claims, including their attempted State Law Claims, are

 governed by maritime law, see supra, they are displaced by the OPA as they seek oil

 13
    It is not surprising that §§ 1333(a)(1) and 1333(a)(2)(A) differ in scope. The very broad exertion of
 federal authority under § 1333(a)(1) necessarily encompasses all mineral exploration and production
 activities on the OCS, whether performed by "fixed platforms" or "vessels," in order to maximize federal
 control over vital national resources. However, maritime law has historically governed claims arising on or
 in connection to a vessel, see Sisson, 497 U.S. at 360-61, and so § 1333(a)(2)(A)’s application of adjacent
 state law is only needed to fill the gap where claims arise on or in connection with a non-vessel—i.e., an
 artificial island or fixed structure—such as a fixed platform. Consequently, claims arising out of mineral
 exploration on the OCS may broadly arise under OCSLA, but such claims may be governed either by
 maritime law (as in this case) or, to the extent they fall within § 1333(a)(2)(A)’s narrower "adjacent state
 law" provision (applicable to fixed structures), state law as a proxy for federal law.
 14
      See supra fn. 8.
 15
    Even if § 1333(a)(2)(A) were to apply in this case, Louisiana law likely would apply as adjacent state
 law. In Snyder Oil Corp. v. Samedan Oil Corp., the court considered four kinds of evidence to determine
 which state was considered “adjacent” to an OCSLA situs: (1) geographic proximity; (2) which coast
 federal agencies consider the subject platform to be “off of”; (3) prior court determinations; and (4)
 projected boundaries. 208 F.3d 521, 524 (5th Cir. 2000). Louisiana is closer to the situs of the Deepwater
 Horizon incident than any other state, and the Minerals Management Service (MMS) (n/k/a Bureau of
 Ocean Energy Management, Regulation, and Enforcement (BOEMRE)) has described the Deepwater
 Horizon incident as occurring "50 miles offshore Louisiana" on its official website linking a webpage
 describing the Deepwater Horizon incident, http://www.mms.gov/DeepwaterHorizon.htm, a copy of which
 is attached hereto as Exhibit B. Similarly, in a notice entitled "Information to Lessees and Operators on
 Federal Oil and Gas Leases on the Outer Continental Shelf, Gulf Mexico Region," dated April 28, 2010,
 MMS notified lessees and operators in the Gulf of Mexico about its intention to initiate controlled burns to
 abate the oil spill and described the oil spill as being "located offshore Louisiana."                    See
 https://www.gomr.mms.gov/homepg/regulate/regs/itls/100428.pdf, a copy of which is attached hereto as
 Exhibit C. In addition, federal district courts have noted that other locations in the Mississippi Canyon are
 adjacent to the State of Louisiana and have applied Louisiana law as surrogate federal law. See, e.g.,
 Ronquille v. MMR Offshore Servs., Inc., 353 F. Supp. 2d 680, 682 n.4 (E.D. La. 2004); Dennis v. Bud’s
 Boat Rental, Inc., 987 F. Supp. 948, 949-954 (E.D. La. 1997). Therefore, even if OCSLA were to apply
 adjacent state law in this case, it likely would apply Louisiana law to Plaintiffs' claims, including but not
 limited to those alleged in the cases identified on Appendix 2.




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 spill-related damages of the type recoverable under that statute.      The OPA is the

 exclusive federal remedy for the types of damages alleged. See S. Port Marine, LLC v.

 Gulf Oil Ltd. P’ship, 234 F.3d 58, 65-66 (1st Cir. 2000) (citations omitted) (noting that

 Congress has established a “comprehensive” scheme that outlines with particularity the

 types of damages recoverable under the OPA and that this is a “strong indication that

 Congress intended the OPA to be the sole federal law applicable in this area of maritime

 pollution”). Plaintiffs cannot circumvent the OPA with state law allegations arising

 under this Court's admiralty jurisdiction.

        The OPA was enacted by Congress in the wake of the Exxon Valdez oil spill to

 provide a prompt, federally-coordinated response to oil spills in the navigable waters of

 the United States and to compensate innocent victims. Gatlin Oil Co. v. United States,

 169 F.3d 207, 209 (4th Cir. 1999).           The OPA provides a comprehensive statutory

 framework for parties injured by oil spills in navigable waters to make claims to a

 designated responsible party for recovery of costs and damages. See 33 U.S.C. §§ 2701,

 et seq. The OPA "represents Congress's attempt to provide a comprehensive framework

 in the area of marine oil pollution." Tanguis v. M/V Westchester, 153 F. Supp. 2d 859,

 867 (E.D. La. 2001) (citations omitted). Its purpose is "to promote settlement and avoid

 litigation." Johnson v. Colonial Pipeline Co., 830 F. Supp. 309, 310 (E.D. Va. 1993).

        Plaintiffs' claims—including their purported State Law Claims, which are

 maritime claims no matter how artfully pleaded—seek relief for precisely the types of

 damages Congress intended to be recovered exclusively under the OPA. See S. Port

 Marine, 234 F.3d at 65-66; see also In re Jahre Spray II K/S, 1996 U.S. Dist. LEXIS




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 11594, at * 11 (D. N.J. Aug. 5, 1996) (noting that in the wake of the Exxon Valdez

 incident, the OPA was developed as a comprehensive statutory scheme that would deal

 with all issues surrounding an oil spill, including liability levels for the respective

 responsible parties.”); Nat’l Shipping Co. of Saudi Arabia v. Moran Mid-Atl. Corp., 924

 F. Supp. 1436, 1447 (E.D. Va. 1996) (“OPA clearly preempts maritime law as to

 recovery of cleanup expenses and the cost of compensating injured persons.”).

        Pursuant to the OPA, injured parties may recover a broad range of damages from

 a responsible party, including:

        Natural resources

                Damages for injury to, destruction of, loss of, or loss of use
                of, natural resources, including the reasonable costs of
                assessing the damage, which shall be recoverable by a
                United States trustee, a State trustee, an Indian tribe trustee,
                or a foreign trustee.

        Real or personal property

                Damages for injury to, or economic losses resulting from
                destruction of, real or personal property, which shall be
                recoverable by a claimant who owns or leases that property.

        Subsistence use

                Damages for loss of subsistence use of natural resources,
                which shall be recoverable by any claimant who so uses
                natural resources which have been injured, destroyed, or
                lost, without regard to the ownership or management of the
                resources.

        Revenues

                Damages equal to the net loss of taxes, royalties, rents,
                fees, or net profit shares due to the injury, destruction, or
                loss of real property, personal property, or natural
                resources, which shall be recoverable by the Government




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               of the United States, a State, or a political subdivision
               thereof.

        Profits and earning capacity

               Damages equal to the loss of profits or impairment of
               earning capacity due to the injury, destruction, or loss of
               real property, personal property, or natural resources,
               which shall be recoverable by any claimant.

        Public services

               Damages for net costs of providing increased or additional
               public services during or after removal activities, including
               protection from fire, safety, or health hazards, caused by a
               discharge of oil, which shall be recoverable by a State, or a
               political subdivision of a State.

 33 U.S.C. § 2702(b)(2).

        The OPA provides the exclusive federal remedy for recovery of oil spill-related

 damages, preempting or displacing maritime or other federal claims for recovery of those

 damages. See S. Port Marine, 234 F.3d at 65 ("Congress intended the OPA to be the

 exclusive federal law governing oil spills."); Gabarick v. Laurin Mar. (Am.) Inc., 623 F.

 Supp. 2d 741, 750-51 (E.D. La. 2009) ("This Court finds that an evaluation of the

 Oswego factors indicates that OPA preempts general maritime law claims that are

 recoverable under OPA."). Regarding the preemptive effect of OPA, it has been held that

 "all [general maritime law] claims that are recoverable under OPA, specifically those

 covered damages enumerated in 33 U.S.C. § 2702, are preempted by OPA." Gabarick,

 623 F. Supp. 2d at 750-51.

        Consequently, any attempt by Plaintiffs to recover oil spill-related damages

 addressed by OPA under common law theories of trespass, nuisance, and fraudulent

 concealment must fail. Plaintiffs contend that



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        [f]ishermen and marine-related businesses have lost and continue to lose
        income and their businesses; the tourism industry and hotels, resorts,
        restaurants, and other tourism-reliant businesses have lost and continue to
        lose income; and real property owners have suffered the loss, damage,
        and/or diminution of the value of their properties throughout the Coastal
        Zone.

 (Master Complaint ¶ 180). Clearly, these damage categories are encompassed by Section

 2702(b) of OPA. (See also Master Complaint ¶¶ 608-610) (asserting damages under

 subsections (B), (C), and (E) of OPA § 2702(b)(2)). Because "Congress intended OPA to

 be the exclusive federal law governing oil spills," S. Port Marine, 234 F.3d at 65-66,

 Plaintiffs' claims against HESI—their asserted maritime claims, including those guised as

 purported State Law Claims—for recovery of oil spill-related damages fail as a matter of

 law, demanding dismissal under Federal Rule of Civil Procedure 12(b)(6).

        5.      This Court Cannot Exercise Subject Matter Jurisdiction Over Plaintiffs'
                Claims To the Extent Plaintiffs Have Failed To Present Their Claims
                Through the OPA-Mandated Claims Process.

        Although the OPA provides the exclusive remedy for their alleged oil spill-related

 damages, many Plaintiffs in the underlying cases have failed to follow the

 Congressionally-mandated claims presentment process in the OPA. Accordingly, this

 Court’s subject matter jurisdiction cannot be properly invoked by such Plaintiffs, and

 their claims should be dismissed on this independent, jurisdictional basis.

        Parties claiming to have suffered damages from oil releases are required to first

 present their claims to the responsible party or parties before filing a lawsuit claiming

 damages: “[A]ll claims for removal costs or damages shall be presented first to the

 responsible party or guarantor designated under [§] 2714(a) of this title.” 33 U.S.C. §

 2713(a) (emphasis added). Claimants may only initiate suit after a claim is presented in




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 accordance with § 2713(a) and the responsible party denies all liability for the claim or

 the claim is not settled by payment within ninety days after the date upon which the claim

 was presented. 33 U.S.C. § 2713(c). Pre-suit presentment is mandatory:

         The clear text of § 2713 creates a mandatory condition precedent barring
         all OPA claims unless and until a claimant has presented [its] claims in
         compliance with § 2713(a) and either: (1) all responsible parties deny all
         liability; or (2) the claim is not settled by payment within 90 days after
         (A) the claim was presented, or (B) advertising was begun under [§]
         2714(b) of the Act, whichever is later.

 Boca Ciega Hotel, Inc. v. Bouchard Transp. Co., 51 F.3d 235, 240 (11th Cir. 1995)

 (emphasis added); see also Gabarick, 623 F. Supp. 2d at 750-51 (dismissing for lack of

 subject matter jurisdiction all non-OPA claims seeking damages of the type covered by

 the OPA for failure to present such claims to the designated responsible party); Marathon

 Pipe Line Co. v. LaRoche Indus. Inc., 944 F. Supp. 476, 477 (E.D. La. 1996) (“The Court

 agrees that § 2713’s presentation requirement is jurisdictional and mandates dismissal

 when that provision is applicable and not complied with by the claimant.”); S. Rep. No.

 101-94 (1989), reprinted in 1990 U.S.C.C.A.N. 722, 732 (hereinafter “Senate Report”)

 (noting that “the bill requires claims to be presented in the first instance to the discharger,

 where known.”).

        In the Master Complaint, Plaintiffs allege that they "have satisfied, or will have

 satisfied, all of the administrative requirements of 33 U.S.C. §§ 2713(a) and (b), as to

 each and all defendants[.]" (Master Complaint ¶ 611). Yet, as set forth above, Plaintiffs

 are required to meet the OPA's presentment requirements before filing suit. Moreover,

 the vast majority of the underlying complaints make no similar allegation about

 presenting claims to a responsible party under the OPA. As a result, to the extent any




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 Plaintiff has failed to present a claim under the OPA's mandatory prerequisites to a

 designated responsible party, this Court lacks jurisdiction to hear any such claims related

 to the oil spill, and such claims should be dismissed unless and until Plaintiffs comply

 with the jurisdictional pre-suit presentment requirements of the OPA.

        6.      Plaintiffs' Sole Remedy for Their Alleged Damages, if Any, Lies Against
                a Responsible Party or Parties Designated Under the OPA, Not Against
                HESI.

        The failure of any Plaintiffs to present their claims as required under the OPA

 warrants dismissal of their actions in their entirety. However, even if Plaintiffs were

 subsequently to satisfy the OPA’s claims presentment process, their sole remedy, if any,

 lies only against the designated responsible party or parties, not against HESI. Indeed,

 Plaintiffs acknowledge in the Complaint that HESI has not been named a "Responsible

 Party" for OPA purposes by the U.S. Coast Guard. (Master Complaint ¶ 604) (noting

 that "[t]he Coast Guard has named BP as the responsible party for the downhole release

 of oil and Transocean as the responsible party for the release of diesel on the surface").

 Under the OPA, the responsible party for the vessel or facility from which an oil release

 emanates is liable for all associated damages and removal costs:

        Notwithstanding any other provision or rule of law, and subject to the
        provisions of this Act, each responsible party for a vessel or facility from
        which oil is discharged . . . is liable for the removal costs and damages
        specified in subsection (b) that result from such incident.

 33 U.S.C. § 2702(a) (emphasis added). In the case of an oil release originating from an

 offshore vessel or facility, the OPA defines the responsible party, respectively, as "any

 person owning, operating, or demise chartering the vessel" or the “lessee or permittee of

 the area in which the facility is located.” 33 U.S.C. § 2701(32)(C). The Coast Guard




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 designates the responsible party who is strictly liable for recovery costs and damages. 33

 C.F.R. § 136.305. See also Gabarick, 623 F. Supp. 2d at 744 (“When an oil spill occurs

 on U.S. navigable waters, the Coast Guard determines the source of the discharge and

 notifies a responsible party for that source.”); Senate Report, at 723 (noting that

 “wherever possible, the burden is to be on the discharger to first bear the costs of removal

 and provide compensation for any damages.”).

            Recourse against the responsible party or parties is the sole remedy for those

 injured by an oil release. Recovery, if any, against non-responsible third parties is

 limited to an action for contribution by the responsible party or parties, not direct claims

 against non-responsible third parties by those alleging injury resulting from an oil

 release. See 33 U.S.C. § 2709 (emphasis added). As the Court in Gabarick explained:

            In light of Congress’s intent to minimize piecemeal lawsuits and the
            mandatory language of OPA discussed earlier, it appears that Claimants
            should pursue claims covered under OPA only against the responsible
            party and in accordance with the procedures established by OPA. Then,
            the responsible party can take action to recover against third parties.

 623 F. Supp. 2d at 750. Plaintiffs, therefore, can only state viable OPA claims against

 the designated responsible party or parties, and only in compliance with OPA’s

 mandatory prerequisites. Here, OPA claims brought against HESI in the underlying

 cases are not cognizable because HESI is not a designated responsible party under the

 statute. Accordingly, to the extent Plaintiffs have brought claims against HESI under the

 OPA16, such claims should be dismissed as a matter of law since HESI is not a

 designated responsible party. To the extent Plaintiffs bring direct claims against HESI


 16
      See Appendix 3, which lists the underlying cases in which Plaintiffs assert an OPA claim against HESI.




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 for oil-spill related damages covered by the OPA, such claims are only viable against a

 designated responsible party or parties, not against HESI. The Court, therefore, should

 dismiss all claims against HESI with prejudice because Plaintiffs have failed to state a

 proper claim.17

 B.       Plaintiffs' Claims Are Barred by the Economic Loss Rule to the Extent that
          They Do Not Allege Physical Damage to a Proprietary Interest.

          Assuming, arguendo, that Plaintiffs' claims against HESI are not otherwise barred

 by the OPA, such claims would nonetheless fail under federal maritime law's economic

 loss rule to the extent that they seek recovery for economic losses absent physical injury

 to a proprietary interest. See Robins Dry Dock & Repair Co. v. Flint, 275 U.S. 303, 309

 (1927). "It is unmistakable that the law . . . does not allow recovery of purely economic

 claims absent physical injury to a proprietary interest in a maritime negligence suit." In

 re Taira Lynn Marine Ltd. No. 5, LLC, 444 F.3d 371, 377 (5th Cir. 2006). See also

 Reserve Mooring, Inc. v. Am. Commercial Barge Line, LLC, 251 F.3d 1069, 1072 (5th

 Cir. 2001) ("[P]hysical injury to a proprietary interest is a prerequisite to recovery of

 economic damages in cases of unintentional maritime tort."); State of Louisiana v. M/V

 Testbank, 752 F.2d 1019, 1022 (5th Cir. 1985); Kingston Shipping Co. v. Roberts, 667

 F.2d 34 (11th Cir. 1983).              The rule's purpose is to prevent limitless liability for

 negligence and the filing of lawsuits of a highly speculative nature. Akron Corp. v. M/T

 Cantigny, 706 F.2d 151, 153 (5th Cir. 1983).


 17
   By this Motion, HESI does not waive its right to move to dismiss any of the underlying complaints for
 their failure to comply with the Twombly/Iqbal pleading standard, which requires that the "complaint must
 contain sufficient factual material, accepted as true, to state a claim to relief that is plausible on its face."
 Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
 (2007)).




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          In the Master Complaint, Plaintiffs allege, among other things, damages in the

 form of "economic losses, or damages to their occupations, businesses, and/or

 property[.]" (Master Complaint ¶ 476). Such allegations for purely economic losses are

 the kinds of speculative claims that the economic loss rule was created to preclude. See

 Akron Corp., 706 F.2d at 153. Moreover, the Master Complaint does not allege that each

 Plaintiff seeking economic damages in the underlying complaints has also suffered

 physical damage to a proprietary interest. Nor could it. The vast majority of Plaintiffs in

 the underlying complaints do not sufficiently allege or allege at all physical damage to

 such interest.18 Accordingly, to the extent Plaintiffs' do not allege or cannot demonstrate

 physical damage to a proprietary interest, their economic damages claims should be

 dismissed.19

 C        Plaintiffs Cannot, as a Matter of Law, Recover Punitive Damages from
          HESI.

          In addition to the other damage claims discussed supra, Plaintiffs seek punitive

 damages. (Master Complaint ¶¶ 183, 668-689). As a matter of law, however, Plaintiffs

 cannot recover punitive damages. Punitive damages are not a separate cause of action.

 Sulzer Carbomedics v. Or. Cardio-Devices, Inc., 257 F.3d 449, 461 (5th Cir. 2001); see


 18
   See Appendix 4, which lists the underlying cases in which plaintiffs assert claims for economic damages
 arising from the Incident without sufficiently alleging or alleging at all physical injury to a proprietary
 interest.
 19
    As previously stated, the only basis on which state law could theoretically apply to Plaintiffs' claims is
 through the adjacent state law provision of OCSLA, 43 U.S.C. § 1333(a)(2)(A). If that provision were
 applicable, it would require that Louisiana law govern Plaintiffs' claims. See supra fn. 15. Louisiana law,
 however, also precludes recovery for economic loss absent a showing of physical injury to a proprietary
 interest. See Conoco, Inc. v. Halter-Calcasieu, L.L.C., 865 So.2d 813, 820-21 (La. Ct. App. 2003).
 Accordingly, even if this Court finds that state law governs these claims pursuant to OCSLA's adjacent
 state law provision, such claims should be dismissed to the extent they do not allege a physical injury to a
 proprietary interest.




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 also Byrne v. Nezhat, 261 F.3d 1075, 1087 (11th Cir. 2001) (noting that plaintiff's claim

 for punitive damages was not a separate cause of action). Instead, they "must relate to

 some separate cause of action which permits recovery of punitive damages." South Port

 Marine, LLC, v. Gulf Oil Ltd. P'ship., 234 F.3d 58, 64 (1st Cir. 2000).

        As HESI has shown, the OPA provides Plaintiffs' exclusive remedy here, and

 Plaintiffs have not satisfied the jurisdictional requirements for an OPA claim against

 HESI. Further, the OPA does not permit the recovery of punitive damages. S. Port

 Marine, 234 F.3d at 65-66. The statute's comprehensive list of recoverable damages is

 exclusive as "Congress intended the OPA to be the sole federal law applicable in this area

 of maritime pollution." Id. at 65. Thus, as a matter of law, Plaintiffs cannot recover

 punitive damages, even if their claims are construed as maritime tort claims. See Clausen

 v. M/V New Carissa, 171 F. Supp. 2d. 1127, 1133 (D. Or. 2001) (holding that the OPA

 precludes recovery of punitive damages under any general maritime law theory for which

 the OPA could provide relief). Plaintiffs' demand for the recovery of punitive damages,

 therefore, must be dismissed.

                                     V.   CONCLUSION

        For the reasons set forth above, subject matter jurisdiction has yet to attach for

 Plaintiffs' claims and, separately, they have failed to plead viable claims against HESI as

 a matter of law. Pursuant to Rule 12(b)(1) and Rule 12(b)(6), the Court, therefore,

 should dismiss Plaintiffs' claims against HESI in their entirety.



 Dated: February 28, 2011




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